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                               U.S. DISTRICT COURT
6                         CENTRAL DISTRICT OF CALIFORNIA

7    HOSSEIN MOKHTARI, an individual            Case No.: 2:15-cv-07234-PA-RAO

8                       Plaintiff,              COURT ORDER UPON
                                                PLAINTIFF’S MOTION FOR
9          v.                                   DISMISSAL, WITH PREJUDICE,
                                                PURSUANT TO RULE 41(a)
10   ORACLE FINANCIAL GROUP, LLC;
     UNITED PORTFOLIO SERVICING
11   LLC, and DOES 1-10;

12                      Defendant.

13
           Pursuant to the motion of Plaintiff to dismiss this matter, with prejudice, pursuant
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     to Rule 41(a), this matter is now dismissed with prejudice, and all pending dates,
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     deadlines, and hearings are now vacated.
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     IT IS SO ORDERED.
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     DATED: December 7, 2015
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                                           Honorable Judge of the U.S. District Court
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          COURT ORDER UPON MOTION FOR DISMISSAL, WITH PREJUDICE
